Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 1 of 32

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5954329
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000368
Beverly Hills Surgery Center
0000001927
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
01/28/11  L. Kohn 2.00 Research regarding notice of related filing
01/31/11 L. Kohn 0.80 Draft notice of related case
Total Hours Worked 2.80

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $840.00
Less Agreed Discount (84.00)
Adjusted Current Services 756.00
Total Current Disbursements 0.00
Total Current Invoice $756.00

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Los Angeles Times Communications LLC
Invoice No, 5954329

Page No. 2
SUMMARY BY PROFESSIONAL
Professional Hours Worked Billed Per Hour Bill Amount
Associate
Kohn, L. 2.80 270.00 756.00
Total 2.80 756.00
Total All Classes 2.80 $756.00
STATEMENT OF ACCOUNT
Balance from Previous Statement $21,653.46
Current Invoice $756.00
Total Balance Due This Matter $22,409.46

Kelli Sager
Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 3 of 32

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5954330
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000369

DCFS

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DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

01/03/11 K. Sager 0.10 Discussion with J. Glasser regarding status

01/21/11 J. Glasser 1.20 Call with Ms. Goller, Mr. Therolf, and Los Angeles
County Counsel and Department of Child and Family
Services officials regarding various requests relating to
foster family agencies (.7); review records and draft
5B39 writ petition (.5)

01/24/11 J. Glasser 1.80 Review records, research and draft writ petition

01/25/11 J. Glasser 5.70 Research and draft SB 39 writ petition

01/26/11 J. Glasser 0.40 Call with Mr. Therolf regarding SB 39 writ petition
and related revising of writ petition and communicate
with K. Sager

Total Hours Worked 9.20

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Los Angeles Times Communications LLC

Invoice No. 5954330

Page No. 2
TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE
Total Current Services $3,015.50
Less Agreed Discount (301.55)
Adjusted Current Services 2,713.95
Total Current Disbursements 0.00
Total Current Invoice $2,713.95
SUMMARY BY PROFESSIONAL
Professional Hours Worked Billed Per Hour Bill Amount
Partner
Sager, K. 0.10 $22.00 $2.20
Total 0.10 §2.20
Associate
Glasser, J. 9.10 292.50 2,661.75
Total 9.10 2,661.75
Total All Classes 9.20 $2,713.95
STATEMENT OF ACCOUNT
Balance from Previous Statement $6,078.71
Current Invoice $2,713.95
Total Balance Due This Matter $8,792.66

Kelli Sager
Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 5 of 32

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206.757.7700 fax

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Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5954331
Vice President and Deputy General Counsel

145 §. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000379
Bankruptcy
0000001932
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
01/05/11 K. Sager 0.20 Communicate with Karlene Goller (0.1); communicate
with Jim Waggoner (0.1)
01/26/11 M. Bradley 1.00 Revise October fee application
01/27/11 M. Bradley 3.40 Draft fee and cost charts for fee application
(November)
01/31/11 M. Bradley 2.70 Prepare fee and cost charts for fee application
(December)
Total Hours Worked 7.30

PAYMENT |S DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Los Angeles Times Communications LLC
Inveice No. 5984331

Page No. 2
TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE
Total Current Services $1,358.50
Less Agreed Discount (135.85)
Adjusted Current Services 1,222.65
Total Current Disbursements 0.00
Total Current Invoice $1,222.65
SUMMARY BY PROFESSIONAL
Professional Hours Worked Billed Per Hour — Bill Amount
Partner
Sager, K. 0.20 $22.00 104.40
Total 0.20 104.40
Paralegal
Bradley, M. 7.10 157.50 1,118.25
Total 7.10 1,118.25
Total All Classes 7.30 $1,222.65
STATEMENT OF ACCOUNT
Balance from Previous Statement $7,984.50
Current Invoice $1,222.65
Total Balance Due This Matter $9,207.15

Kelli Sager
Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 7 of 32

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206.622.3150 tel
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Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC February 28, 2011
Attn: Julie Xanders, Esq. Invoice No. 5954335
145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF

SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000383

Adjudication Matters

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

01/03/11 K. Henry 0.30 Draft proposed order setting hearing date on
adjudication petition

01/05/11 K. Henry 0.80 Draft publication document and publication
instructions

01/06/11 K. Henry 0.20 Communications with Mr. Davis regarding publication
of adjudication materials

Total Hours Worked 1.30
DISBURSEMENT DETAIL

DESCRIPTION QUANTITY AMOUNT

Filing fee - - APEX ATTORNEY SERVICES INC - 12/23/10 1 63.00

LASC per Y. Godson

Filing fee - - APEX ATTORNEY SERVICES INC - 1/13/11 1 48.00

LASC per Y. Godson

Filing fee - - APEX ATTORNEY SERVICES INC - 1/5/11 1 45.50

LASC per Y. Godson

Outside delivery service - - APEX ATTORNEY SERVICES 1 28.00

INC - 1/4/11 LASC per Y. Godson

Outside search service - - APEX ATTORNEY SERVICES 1 486.00

INC - 10/15/10 OCSC per Y. Godson

Outside search service - - 12/14/10 LASC Online 1 15.00

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 8 of 32

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Invoice No. 5954335
Page No. 2

Total Current Disbursements $685.50

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $487.50
Less Agreed Discount (48.75)
Adjusted Current Services 438.75
Total Current Disbursements 685.50
Total Current Invoice $1,124.25

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Associate
Henry, K. 1.30 337.50 438.75
Total 1.30 438.75
Total All Classes 1.30 $438.75
STATEMENT OF ACCOUNT
Balance from Previous Statement $12,975.55
Current Invoice $1,124.25
Total Balance Due This Matter $14,099.80

Kelli Sager
Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 9 of 32

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Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5954712
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000385

Long Beach Police Association

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

01/03/11 K. Sager 0.20 Discussion with J. Glasser regarding brief opposing
preliminary injunction

01/03/11 J. Glasser 1.80 Confer with K. Sager regarding opposing request for

preliminary injunction sought by Long Beach Police
Officers Association (.1); research and draft motion to
intervene and to oppose request for preliminary
injunction (1.7)

01/04/11 J. Glasser 1.80 Call with Ms. Goller and Mr. Lait (.2); research and
draft opposition to preliminary injunction request (1 .6)

01/05/11 K. Sager 0.20 Communicate with P. Bibring and communicate with J.
Glasser regarding amici brief

01/05/11 J. Glasser 5.40 Research and draft opposition to order to show cause

regarding preliminary injunction (5.3); correspondence
with counsel for ACLU regarding amici brief (.1)

01/06/11 K. Sager 0.40 Communicate with P. Bibring (.2); communications
with J, Glasser (.2)
01/09/11 K. Sager 2.00 Review and revise motion to intervene and Opposition

to injunction, including review of Long Beach Police
Officers Association's papers, CPRA request, and
communications with J. Glasser regarding brief

01/09/11 J. Glasser 1.70 Research and revise opposition to plaintiffs' request for
a preliminary injunction sought by Long Beach Police
Officers Association

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Los Angeles Times Communications LLC

Invoice No. 5954712

Page No. 2

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

O1/10/11 K. Sager 0.40 Review and revise declaration and evidentiary
objections

01/10/11 J. Glasser 2.50 Draft declarations and evidentiary objections, revise
writ opposition

01/10/11 W. Gonzaque-Taylor 1.00 Confer with A. Patterson regarding cite checking of
Opposition to OSC regarding Preliminary Injunction
(.2); follow-up with J. Glasser and A. Patterson
regarding same (.1); pull Federal citations in Lexis (.3);
prepare appendix of Non- California Authorities in
support of Opposition to OSC regarding Preliminary
Injunction (.3); confer with J. Glasser regarding same
(1)

01/10/11 W. Patterson 4.10 Sheppardize and cite-check opposition to OSC
regarding Preliminary Injunction

O1/11I/11  K. Sager 0.80 Final revisions to brief and declarations and
communications with J. Glasser regarding same

OW/1I/11 J. Glasser 2.40 Revise Winton and Glasser declarations, evidentiary
objections, and opposition to request for preliminary
injunction

01/16/11 A. Wickers 1.20 Prepare for hearing on preliminary injunction

O1/I7/11 A. Wickers 2.40 Prepare for hearing on preliminary injunction motion

O1/18/11 K. Sager 0.40 Communicate with J. Glasser regarding hearing (.1);
discussion with A. Wickers regarding hearing today
(3)

O1/18/11 A. Wickers 4.20 Attend hearing on preliminary injunction motion in
Long Beach

01/20/11 A. Wickers 0.80 Review court's order denying preliminary injunction
motion (.5); telephone calls with Mr. Trott and Ms.
Checel regarding same and ex parte application (.3)

01/21/11 A. Wickers 0.20 Review letter between POA and City

01/22/11 K. Sager 0.20 Communicate with P. Bibring regarding Court of
Appeal and communicate with A. Wickers regarding
same

01/23/11 K. Sager 0.40 Review final order (.3); communicate with A. Wickers
regarding ex parte hearing (.1)

01/24/11 K. Sager 0.30 Communicate with A. Wickers and team (.2);
telephone conference with Ms. Goller regarding amici
(1)

01/24/11 A. Wickers 3.60 Attend hearing on ex parte application in Long Beach

(3.4); communicate with Ms. Goller and K. Sager
regarding same (.2)
01/24/11 J. Glasser 0.30 Draft notice of entry of order denying preliminary
injunction requested by Long Beach Police Officers
Association
01/26/11 K. Sager 0.20 Communicate with G. Cummins
Total Hours Worked 38.90
Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 11 of 32

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Invoice No. 5954712

Page No. 3
DISBURSEMENT DETAIL
DESCRIPTION QUANTITY AMOUNT
Photocopy Charges 234 52.20
Total Current Disbursements $52.20
TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE
Total Current Services $15,918.00
Less Agreed Discount (1,591.80)
Adjusted Current Services 14,326.20
Total Current Disbursements 52.20
Total Current Invoice $14,378.40
SUMMARY BY PROFESSIONAL
Professional Hours Worked Billed Per Hour Bill Amount
Partner
Sager, K. 5.50 522.00 2,871.00
Wickers, A. 12,40 468.00 5,803.20
Total 17.90 8,674.20
Associate
Glasser, J. 15.90 292.50 4,650.75
Total 15.90 4,650.75
Paralegal
Gonzaque-Taylor, W. 1,00 171.00 171.00
Patterson, W. 4.10 202.50 830.25
Total 5.10 1,001.25

Total All Classes 38.90 $14,326.20

Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 12 of 32

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Los Angeles Times Communications LLC

Invoice No. 5954712

Page No. 4

STATEMENT OF ACCOUNT
Balance from Previous Statement $25,628.69
Current Invoice $14,378.40
Total Balance Due This Matter $40,007.09

Kelli Sager
Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 13 of 32

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Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5954715
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000387

Dorn

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

01/03/11 K. Sager 0.20 Discussion with J. Glasser regarding brief on sealing

01/03/11 J. Glasser 0.70 Research and draft motion opposing closure of
proceedings and sealing of documents in Dorn divorce
case

01/04/11 K. Sager 0.30 Discussion with J. Glasser regarding sealing issues

01/04/11 J. Glasser 3.40 Review docket regarding sealing orders in Dorn case
and related conferring with K. Sager (.2); review of
documents regarding sealing and closure requests (.5);
research and draft opposition to sealing and closure
request by Daniel Dorn (2.7)

01/05/11 K. Sager 1.10 Review and revise motion to intervene and against
sealing/closure and communicate with Ms. Goller

01/05/11 J. Glasser 0.40 Call with Ms. Meyer concerning Abbie Dorn's position
on sealing and closure issues and related revising of
brief

01/06/11 K. Sager 0.30 Communications with J. Glasser regarding unsealing
motion

01/06/11 J. Glasser 0.30 Communicate with K. Sager regarding sealing motion
(.1); communicate with Ms. Goller concerning sealing
motion filed by counsel for Daniel Dorn (.1); review
cite check (.1)

01/06/11 K. Roth 2.30 Cite check Motion to Intervene

01/07/11 K. Sager 0.40 Telephone conference with Ms. Goller regarding brief

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 14 of 32

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Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

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DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
and finalize same

01/07/11 J. Glasser 0.40 Revise motion to intervene and to oppose closure of
court proceedings

OI/11/11 KK. Sager 0.30 Communicate with J. Glasser regarding opposition
papers and reply

01/13/11 K. Sager 1.00 Review plaintiff's opposition to sealing and review and
revise reply

01/13/11 J. Glasser 6.40 Research and draft reply brief in Dorn divorce case
(6.3); correspondence with K. Roth regarding
opposition brief filed by Daniel Dorn and pulling cases
for K. Sager's oral argument preparation (.1)

01/14/11 K. Sager 1.40 Communications with J. Glasser regarding reply brief
(.4); review and revise reply brief (1.0)

01/14/11 J. Glasser 3.80 Revise Dorn reply, and related call with K. Sager

OW/17/11_ K. Sager 2.50 Review pleadings, cases and outline argument for
hearing tomorrow

O1/18/11 K. Sager 3.00 Prepare for and attend hearing on sealing of custody
file (2.8); communicate with clients (.2)

01/21/11 K. Sager 0.30 Communications with Ms. LaGanga and Ms. Goller

01/24/11 K. Sager 0.20 Review final order from court

Total Hours Worked 28.70
DISBURSEMENT DETAIL
DESCRIPTION QUANTITY AMOUNT
Photocopy Charges I 52.20
Total Current Disbursements $52.20
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Seattle, WA 98101-3045

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Federal ID #XX-XXXXXXX

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $11,672.50
Less Agreed Discount (1,167.25)
Adjusted Current Services 10,505.25
Total Current Disbursements 52,20
Total Current Invoice $10,557.45

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Partner
Sager, K. 11.00 522.00 5,742.00
Total 11.00 5,742.00
Associate
Glasser, J. 15.40 292.50 4,504.50
Total 15.40 4,504.50
Paralegal
Roth, K. 2.30 112.50 258.75
Total 2.30 258.75
Total All Classes 28.70 $10,505.25
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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 16 of 32

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STATEMENT OF ACCOUNT
Balance from Previous Statement $4,994.92
Current Invoice $10,505.25
Total Balance Due This Matter $15,500.17

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Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5954716
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000388

1 800 GET THIN, LLC

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

OI/I7/11 K. Sager 0.40 Review latest retraction demand (regarding Pfeiffer

article) and communicate with Ms. Goller and J.
Glasser regarding same

O1/19/11 K. Sager 0.50 Communications with Ms. Goller regarding trademark
suit (.3); E-mail correspondence to plaintiff's counsel
(.2)

01/19/11 L. Kohn 0.20 Communicate with K. Sager regarding response to
retraction demand

01/19/11 L. Kohn 1.50 Review and analyze retraction demands and complaint

01/21/11 K. Sager 0.40 Review materials regarding federal court action

01/23/11 K. Sager 0.70 Review retraction demands and materials regarding
lawsuit against Michael Hiltzik

01/24/11 K. Sager 0.50 Discussion with J. Glasser and L. Kohn regarding

response to complaint and strategy (.2); telephone
conference with Ms. Goller regarding lawsuit and
articles (.3)

01/24/11 L. Kohn 0.80 Meeting with K. Sager and J. Glasser regarding lawsuit
and retraction demands (.5); communicate with
paralegal regarding search for corporate filings (.3)

01/24/11 L. Kohn 3.00 Research concerning procedural issues where related
plaintiffs have filed multiple lawsuits in state and
federal court

01/24/11 W. Gonzaque-Taylor 0.10 Confer with L. Kohn regarding "1-800-Get-Thin"

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 18 of 32

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DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
entities

O1/25/11 LL. Kohn 2.50 Legal research regarding defenses to trademark claim
against Michael Hiltzik

01/25/11 W.Gonzaque-Taylor 1.00 Review of Los Angeles County Records Office website

for Fictitious Business Name Applications for Almont
Ambulatory Surgery Center, A Medical Corporation,
Almont Ambulatory Surgery Center, LLC, Beverly
Hills Surgery Center LLC, Top Surgeons LLC, Pacific
Surgical and Laser Institute, a Medical Corporation
(.2); review of California Medical Board website
regarding Fictitious Name Permits for Almont
Ambulatory Surgery Center, A Medical Corporation
and Pacific Surgical and Laser Institute and Top
Surgeons Inc. (.2); review of California Department of
Corporation filings for shareholder information on
Almont Surgery Center, Pacific Surgical Laser Institute
and Top Surgeons Inc. (.2); prepare memo to Sandi
Larson of CL@S corporate service regarding pricing
for California Secretary of State certified copies and
copies from Los Angeles County Recorders Office
(.1); confer with L. Kohn regarding same (.1); research
regarding licensing information on the surgical centers
with the California Department of Public Health
Licensing and Certification Division (.2)

01/26/11 K. Sager 0.50 Discussion with L. Kohn regarding procedural posture
(.2); communications with M. Gonzaque-Taylor and L.
Kohn regarding corporate records search (.3)

01/26/11 L. Kohn 0.40 Communicate with K. Sager and J. Glasser regarding
responses to retraction demands (.2); communicate
with K. Sager regarding retrieval of BHSC and related
entities’ city and state filings (.2)

01/27/11 L. Kohn 1.80 Research on disparagement and dilution under the
Lanham Act
01/27/11 L. Kohn 3.70 Draft letter to Mr. Robert Silverman in response to

Pfeifer article retraction demand (3.5); communicate
with paralegal regarding retrieval of BHSC and related
entities' corporate filings (.2)

01/27/11 W. Gonzaque-Taylor 1.00 Follow-up telephone call to the California Medical
Board regarding Public Document Request for
Fictitious Business Name Permits; prepare memo to L.
Kohn regarding research results from the California

PLEASE REMIT WITH PAYMENT

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DATE

Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

PROFESSIONAL TIME DESCRIPTION OF SERVICES

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01/31/11

01/31/11

Medical Board, California Secretary of State on the 1-

800-Get THIN entities; prepare memo with

instructions to Apex Attorney Service requesting

certified copies of the Fictitious Business Name

Statements of the 1800 Get Thin entities

K. Sager 0.30 Communications with L. Kohn regarding corporate
documents

L. Kohn 0.20 Communicate with paralegal regarding corporate
documents to obtain from Secretary of State

L. Kohn 2.00 Draft letter to Mr. Robert Silverman regarding 1800
GET THIN LLC's retraction demand and trademark
claims

W. Gonzaque-Taylor 1.00 Prepare follow-up memo to L. Kohn regarding
obtaining certified records from the California Medical
Board and California Secretary of State; prepare order
instructions to Ms. Larson (Corporation Service Co.)
requesting certified copies of records from the
California Secretary of State; review of Fictitious
Business Name filings received from Los Angeles
County Recorder (Top Surgeons, Inc., Top Surgeons,
LLC, 1800 Get Thin, Beverly Hills Surgery Center,
LLC, Almont Ambulatory Surgery Center, Inc.) and
prepare memo to L. Kohn regarding same; prepare
draft of letter to California Medical Board requesting
Fictitious Business Name Permits

L. Kohn 2.00 Revise letter to Mr. Robert Silverman regarding | 800
GET THIN, LLC's retraction demand and trademark
claims

W. Gonzaque-Taylor 0.50 Prepare Public Document Request form for the
Fictitious Name Permit Applications; finalized letter to
Medical Board of California for the Fictitious Name
Permit Applications of Top Surgeons, Inc., Top
Surgeons Plastic Surgery & Dermatology Inc,
TopSurgeons Inc., TopSurgeons Plastic Surgery &
Dermatology, Inc. and Pacific Surgical & Laser
Institute Inc.

Total Hours Worked 25.00

» Anchorage
| Bellevue
| Los Angeles

DISBURSEMENT DETAIL
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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 20 of 32

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DESCRIPTION

Photocopy Charges

Professional services - - MEDICAL BOARD OF
CALIFORNIA - 1/31/11 5 fictitious name permit for 5
different names per T. Reynoso

Total Current Disbursements

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

UANTITY AMOUNT
13 52.20

1 50.00

$102.20

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services
Less Agreed Discount
Adjusted Current Services

Total Current Disbursements

Total Current Invoice

$8,028.00
(802.80)
7,225.20

$7,327.40

SUMMARY BY PROFESSIONAL

Professional

Hours Worked Billed Per Hour

Bill Amount

Partner
Sager, K.

Total
Associate
Kohn, L.

Total
Paralegal

Gonzaque-Taylor, W.

Total

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Total All Classes 25.00 $7,225.20
STATEMENT OF ACCOUNT
Balance from Previous Statement $3,595.73
Current Invoice $7,327.40
Total Balance Due This Matter $10,923.13

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5954956
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF

SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000317
Los Angeles County Sheriff CPRA
0000001714
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
01/28/11 K. Sager 0.40 Telephone conference with Ms. Kim and Ms. Goller
01/29/11 K. Sager 0.20 Review materials from Ms. Kim and communicate

with team regarding same
Total Hours Worked 0.60

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $348.00
Less Agreed Discount (34.80)
Adjusted Current Services 313.20
Total Current Disbursements 0.00
Total Current Invoice $313.20

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 23 of 32

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Partner
Sager, K. 0.60 $22.00 313.20
Total 0.60 313.20
Total All Classes 0.60 $313.20
STATEMENT OF ACCOUNT
Balance from Previous Statement $20,424.75
Current Invoice $313.20
Total Balance Due This Matter $20,737.95

PLEASE REMIT WITH PAYMENT

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 24 of 32

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5957216
Vice President and Deputy General Counsel

145 8. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000366
Littlefield
0000001918

DISBURSEMENT DETAIL

DESCRIPTION QUANTITY AMOUNT
Outside delivery service - - NATIONWIDE LEGAL INC - 1 10.00
12/14/10 LASC per C. Solano

Total Current Disbursements $10.00

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 25 of 32

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Los Angeles Times Communications LLC

Invoice No. 5957216

Page No. 2
TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $0.00

Less Agreed Discount 0.00

Adjusted Current Services 0.00

Total Current Disbursements 10.00

Total Current Invoice $10.00

STATEMENT OF ACCOUNT

Balance from Previous Statement $5,234.54
Current Invoice $10.00

Total Balance Due This Matter $5,244.54
Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 26 of 32

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5958075
Vice President and Deputy General Counsel

145 8S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS

Matter No.: 0026175-000004

General/Advice

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES

01/10/11 C. Marcos 0.50 Confer with M. Gonzaque-Taylor regarding pulling
federal citations (.2); confer with C. Gilbertson
regarding Lois Law for pulling of federal citations for
Appendix of Non-California authorities in support of
Oppostion to Order to Show Cause regarding
preliminary injunction (.3)

01/12/11 C. Marcos 3.00 Review briefs and pull all legal authorities used using
Lexis-Nexis and Loislaw

01/12/11 K. Roth 0.90 Review brief regarding Motion to Intervene and
prepare reference set of all authorities cited

OV/14/11 A. Wickers 0.30 Review proposed license regarding images for use in
Calendar section article and communicate with Ms.
Hively regarding same

01/14/11 K. Roth 2.10 Prepare reference set of authorities for hearing

01/15/11 A. Wickers 0.60 Pre-publication legal review of profile article and
communicate with Mr. Clow regarding same

OWI7/11 A. Wickers 0.20 Telephone call from Ms. Hively regarding license

Total Hours Worked 7.60

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WiLL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 27 of 32

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Li Tremaine LLP

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $1,384.50
Less Agreed Discount (138.45)
Adjusted Current Services 1,246.05
Total Current Disbursements 0.00
Total Current Invoice $1,246.05
SUMMARY BY PROFESSIONAL
Professional Hours Worked Billed Per Hour Bill Amount
Partner
Wickers, A. 1.10 468.00 $14.80
Total 1.10 $14.80
Paralegal
Marcos, C. 3.50 112.50 393.75
Roth, K. 3.00 112.50 337.50
Total 6.50 731.25
Total All Classes 7.60 $1,246.05
STATEMENT OF ACCOUNT
Balance from Previous Statement $10,493.53
Current Invoice $1,246.05
Total Balance Due This Matter $11,739.58

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 28 of 32

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC February 28, 2011
Attn. Julie Xanders Invoice No. 5954333
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000380
Ad Development
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
01/14/11 A. Wickers 1.00 Review proposed movie ads (.3); telephone call with
Ms. Xanders and Ms. White (.7)
01/23/11 A. Wickers 0.30 Review ad and brief research regarding potential right
of publicity issues (.3)
Total Hours Worked 1.30

TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Total Current Services $676.00
Less Agreed Discount (67.60)
Adjusted Current Services 608.40
Total Current Disbursements 0.00
Total Current Invoice $608.40

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Los Angeles Times Communications LLC

Invoice No. 5954333

Page No. 2
SUMMARY BY PROFESSIONAL
Professional Hours Worked Billed Per Hour Bill Amount
Partner
Wickers, A. 1.30 468.00 608.40
Total 1.30 608.40
Total All Classes 1.30 $608.40
STATEMENT OF ACCOUNT
Balance from Previous Statement $6,474.02
Current Invoice $608.40
Total Balance Due This Matter $7,082.42

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 30 of 32

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206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Los Angeles Times Communications LLC February 28, 2011
Attn: Karlene W. Goller, Esq. Invoice No. 5986218
Vice President and Deputy General Counsel

145 S. Spring Street, 3rd Floor

Los Angeles, CA 90012

FEBRUARY INVOICE FOR
STATEMENT OF
SERVICES AND DISBURSEMENTS
Matter No.: 0026175-000386
Michael Omidi, M.D.
DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
01/03/11 K. Sager 0.20 Discussion with J. Glasser regarding response to
Silverman e-mail
01/03/11 J. Glasser 0.20 Confer with K. Sager regarding libel lawsuit against
Mr. Hiltzik and Mr. Silverman's letters
01/04/11 K. Sager 0.20 Discussion with J. Glasser regarding letter response
and notice to preserve
01/04/11 ‘J. Glasser 2.40 Call with Ms. Goller (.1); research and draft response
letter to Mr. Silverman (2,3)
01/05/11 K. Sager 0.50 Review and revise letter to Omidi's counsel regarding

Hiltzik suit and communicate with Ms. Goller
regarding same

01/06/11 K. Sager 0.30 Communicate with Ms. Goller regarding letter and
revise same

01/06/11 ‘J. Glasser 0.10 Revise letter to Mr. Silverman

01/07/11 K. Sager 0.80 Telephone conference from "Brian Oxman" (3);

communicate with Ms. Goller regarding same (.1);
communications with Ms. Goller and with Mr. Hiltzik
regarding Oxman and regarding retraction demand (.4)

01/08/11 K. Sager 0.90 Review latest retraction demand from Silverman and
communications from Ms. Goller and Mr. Hiltzik (.5);
review materials and retraction demand (.4)

O1/10/11  K. Sager 0.20 Communicate with Ms. Goller and telephone
conference with J. Glasser regarding response to

PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 31 of 32

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ap
206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

DATE PROFESSIONAL TIME DESCRIPTION OF SERVICES
retraction demand

OW12/11 J. Glasser 5.10 Research and draft letter brief responding to retraction
demands

01/13/11 J. Glasser 0.20 Research and draft letter brief responding to retraction
demands

01/24/11 K. Sager 0.30 Discussion with J. Glasser and L. Kohn regarding
response to complaint and strategy

01/24/11 J. Glasser 0.50 Meeting with K. Sager and L. Kohn regarding lawsuit
filed by Omidi

01/26/11 K. Sager 0.50 Discussion with J. Glasser regarding retraction demand
and response (.2); review and revise letter (.3)

01/26/11 J. Glasser 2.70 Research and draft retraction demand response letter
addressing Mr. Omidi's latest letters

01/27/11 K. Sager 0.40 Communicate with Mr. Sennett regarding retraction
demand for KTLA (.1); review materials for correction
letter (.3)

01/28/11 K. Sager 0.40 Discussion with J. Glasser regarding response to

retraction demands and telephone conference with Ms.
Goller regarding same and regarding latest Silverman

communication
01/28/11 J. Glasser 1.80 Revise letter responding to various correspondence
sent by Mr. Silverman
Total Hours Worked 17.70
DISBURSEMENT DETAIL
DESCRIPTION QUANTITY AMOUNT
Photocopy Charges 26 52.20
Total Current Disbursements $52.20

PLEASE REMIT WITH PAYMENT

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Case 08-13141-BLS Doc 10055-2 Filed 10/24/11 Page 32 of 32

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TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

Suite 2200
1201 Third Avenue
Seattle, WA 98101-3045

206.622.3150 tel
206.757.7700 fax

Federal ID #XX-XXXXXXX

Total Current Services $6,951.00
Less Agreed Discount (695.10)
Adjusted Current Services 6,255.90
Total Current Disbursements $2.20
Total Current Invoice $6,308.10

SUMMARY BY PROFESSIONAL

Professional Hours Worked Billed Per Hour Bill Amount
Partner
Sager, K. 4.70 §22.00 2,453.40
Total 4.70 2,453.40
Associate
Glasser, J. 13.00 292.50 3,802.50
Total 13.00 3,802.50
Total All Classes 17.70 $6,255.90
STATEMENT OF ACCOUNT
Balance from Previous Statement $481.14
Current Invoice $6,308.10
Total Balance Due This Matter $6,789.24

PLEASE REMIT WITH PAYMENT

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